                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

United States of America,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )          No. 10-00320-16-CR-W-DGK
                                              )
Frank Alvarez,                                )
                                              )
       Defendant.                             )

                                          ORDER

       Pending before the Court are Defendant’s Motion to Dismiss for Fraud upon the Court

(Doc. 279) and United States Magistrate Judge Robert E. Larsen’s Report and Recommendation

recommending that the motion be denied (Doc. 281).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Larsen’s Report

and Recommendation be ADOPTED. Defendant’s Motion (Doc. 279) is hereby DENIED.

       IT IS SO ORDERED.

Date: August 12, 2011                         /s/ Greg Kays
                                              GREG KAYS, JUDGE
                                              UNITED STATES DISTRICT COURT




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